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 3                             UNITED STATES DISTRICT COURT
 4                                     DISTRICT OF NEVADA
 5
     REPUBLIC SILVER STATE DISPOSAL,
 6   INC.,                                                 Case No.: 2:20-cv-02003-GMN-NJK
 7          Plaintiff(s),                                               ORDER
 8   v.
 9   YOUSIF HALLOUM, et al.,
10          Defendant(s).
11         Defendants are proceeding in this action pro se and submitted documents to initiate this
12 case in this Court. Docket No. 1. Defendants have not, however, paid the required filing fee or
13 requested authority pursuant to 28 U.S.C. § 1915 to proceed in forma pauperis. See Docket. To
14 proceed with this case, Defendants must either pay the filing fee or file separate fully complete
15 applications to proceed in forma pauperis.
16         Accordingly, IT IS ORDERED:
17         1.      Defendants shall either make the necessary arrangements to pay the filing fee,
18 accompanied by a copy of this order, or file fully complete applications to proceed in forma
19 pauperis.
20         2.      The Clerk’s Office shall send Defendants the approved form applications to
21 proceed in forma pauperis by a non-prisoner, as well as the document entitled “Information and
22 Instructions” for filing an in forma pauperis application.
23         3.      Defendants must comply with this order no later than December 2, 2020. Failure
24 to comply will result in a recommendation to the District Judge that this case be dismissed.
25         IT IS SO ORDERED.
26         Dated: November 2, 2020
27                                                              ______________________________
                                                                Nancy J. Koppe
28                                                              United States Magistrate Judge

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